  Case 3:08-cv-01394-D Document 67 Filed 11/17/10               Page 1 of 20 PageID 1065


                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

D. RONALD RENEKER, SPECIAL RECEIVER FOR                    §
AMERIFIRST FUNDING, INC. aka AMERI-FIRST                   §
FUNDING, INC. aka AMERI FIRST FUNDING,                     §
INC., AMERIFIRST ACCEPTANCE CORP.,                         §
JEFFREY C. BRUTEYN, DENNIS W. BOWDEN,                      §
AMERICAN EAGLE ACCEPTANCE CORP.,                           § Civil Action No.3:08-CV-1394-D
HESS FINANCIAL CORP., INTERFINANCIAL                       §
HOLDINGS CORP., HESS INTERNATIONAL                         §
PROPERTIES, LLC, HESS INTERNATIONAL                        §
INVESTMENTS, S.A., UNITED FINANCIAL                        §
MARKETS, INC. AND GERALD KINGSTON,                         §
                                                           §
              Plaintiffs                                   §
                                                           §
vs.                                                        §
                                                           §
PHILLIP W. OFFILL, JR. AND GODWIN PAPPAS                   §
RONQUILLO, LLP,                                            §
                                                           §
              Defendants                                   §

                              THIRD AMENDED COMPLAINT

TO THE HONORABLE COURT:

       Plaintiff, D. Ronald Reneker, in his capacity as Special Receiver for Civil Action No.

3:07-CV-1188-D, SEC v. AmeriFirst Funding, Inc. Defendants AmeriFirst Funding, Inc. a/k/a

Ameri-First Funding, Inc. a/k/a AmeriFirst Funding, Inc., AmeriFirst Acceptance Corp., Jeffrey

C. Bruteyn, Dennis W. Bowden, and Relief Defendants American Eagle Acceptance Corp., Hess

Financial Corp., InterFinancial Holdings Corp., Hess International Properties, LLC, Hess

International Investments, S.A., United Financial Markets, Inc., and Gerald Kingston (hereinafter

“Special Receiver”), complains of Defendants Phillip W. Offill and Godwin Pappas Ronquillo,

LLP and alleges the following:
  Case 3:08-cv-01394-D Document 67 Filed 11/17/10                 Page 2 of 20 PageID 1066


                                            PARTIES

       1.      Plaintiff Special Receiver is the Court-appointed Special Receiver in Civil Action

No. 3:07-CV-1188-D. Special Receiver has standing and capacity to file this suit and the correct

Defendants are being sued in their correct capacity.

       2.      Defendant Phillip W. Offill, Jr. (“Offill”) is an individual residing in Collin

County, Texas. Offill may be served through his attorneys of record, Richard A. Sayles and

Shawn Long of Sayles Werbner, P.C. at 4400 Renaissance Tower, 1201 Elm Street, Dallas,

Texas 75270.

       3.      Defendant Godwin Pappas Ronquillo, LLP, f/k/a Godwin Pappas Langley

Ronquillo, LLP f/k/a Godwin Gruber, LLP (“Godwin Pappas”) is a Texas limited liability

partnership. Godwin Pappas may be served through its attorneys of record, Richard A. Sayles

and Shawn Long of Sayles Werbner, P.C. at 4400 Renaissance Tower, 1201 Elm Street, Dallas,

Texas 75270.

                                JURISDICTION AND VENUE

       4.      On July 2, 2007, in Civil Action No. 3:07-CV-1188-D, SEC v. AmeriFirst

Funding, Inc. (“SEC action”), this Court entered an Order Appointing Temporary Receiver (the

“Original Receivership Order”) pursuant to which the Court took exclusive jurisdiction and

possession of the “assets, monies, securities, claims in action, and properties, real and personal,

tangible and intangible, of whatever kind and description, wherever situated” then belonging to

AmeriFirst Funding, Inc., AmeriFirst Acceptance Corp., American Eagle Acceptance

Corporation, and others (hereinafter collectively “Receivership Assets”), and appointed William

D. Brown as Receiver for the Receivership Assets. On August 2, 2007, this Court entered an

Amended Order Appointing Temporary Receiver (the “Amended Receivership Order”), which



                                                2
    Case 3:08-cv-01394-D Document 67 Filed 11/17/10                        Page 3 of 20 PageID 1067


added InterFinancial Holdings Corp., Hess International Properties, LLC, Hess International

Investments, S.A., United Financial Markets, Inc. and Gerald Kingston as additional relief

defendants.

          5.     In paragraph 3 of both the Receivership Order and the Amended Receivership

Order, all defendants and relief defendants in Cause Number 3:07-CV-1188-D, as well as all

persons in active concert or participation with such defendants or relief defendants who received

actual notice of the orders, were directed to “promptly deliver to the Receiver all Receivership

Assets in the possession or under the control of any one or more of them.”

          6.     In addition, the Amended Receivership Order provides that any action to

determine disputes relating to Receivership Assets or whether an asset is an asset of the

Receivership shall be filed in this Court. The claims asserted in this action are Receivership

Assets.

          7.     On June 5, 2008, this Court entered an Order (so styled) in which the Court

appoint D. Ronald Reneker as Special Receiver to evaluate and prosecute any claims of the

Receivership against Offill and Godwin Pappas. Thus, this Court has ancillary jurisdiction over

this claim brought by Special Receiver against Offill and Godwin Pappas pursuant to his

receivership duties.

                                      FACTUAL BACKGROUND1



1
  Special Receiver filed his Complaint against Offill and Godwin Pappas (collectively “Defendants”) on August 11,
2008. On October 7, 2008, Offill and Godwin Pappas filed their Motion to Dismiss Under Rule 12(b) And Brief In
Support. On March 26, 2009, this Court granted Defendants’ Motion to Dismiss and granted Special Receiver thirty
days to file an amended complaint. On April 27, 2009, Special Receiver filed his First Amended Complaint against
Defendants. On May 22, 2009, Defendants filed their Motion to Dismiss Under Rule 12(b) and Brief in Support. On
October 20, 2009, this Court granted Defendants’ Motion to Dismiss Special Receiver’s First Amended Complaint
and granted Special Receiver thirty days to file an amended complaint. On November 19, 2009, Special Receiver
filed his Second Amended Complaint and Defendants filed their Motion to Dismiss Second Amended Complaint
and Answer to Second Amended Complaint on December 19, 2009. On April 19, 2010, this Court denied
Defendants’ Motion to Dismiss Second Amended Complaint.

                                                       3
  Case 3:08-cv-01394-D Document 67 Filed 11/17/10                   Page 4 of 20 PageID 1068


       8.      Special Receiver’s claim of legal malpractice by Offill and Godwin Pappas arises

from their failure to properly advise and assist certain of their corporate clients, namely

American Eagle Acceptance Corporation (“American Eagle”), AmeriFirst Funding, Inc.

(“AmeriFirst Funding”), and AmeriFirst Acceptance Corporation (“AmeriFirst Acceptance”)

(hereinafter collectively referred to as the “AmeriFirst Clients”), in offering securities for sale to

the public.

       9.      The President and Chief Operating Officer of American Eagle is Dennis W.

Bowden (“Bowden”). He is also the Chief Executive Officer, Chief Operations Officer, Director,

and sole shareholder of AmeriFirst Funding and the President, Director and Chief Operating

Officer of AmeriFirst Acceptance. An individual with no college degree, Bowden is a legitimate

and previously successful businessman who has been in the automobile sales and financing

business since 1978.

       10.     In fact, before meeting Offill and Godwin Pappas, Bowden had been in the

automobile business most of his adult life, having trained under and worked with his father for

approximately twenty-five years, much of it at American Eagle.

       11.     In early 2005, Bowden was seeking to expand and grow his business, and in

connection therewith, to raise capital to finance that expansion. To facilitate the expansion,

Bowden, with the assistance of Jeffrey C. Bruteyn (“Bruteyn”) and Defendants, developed a

business plan to sell securities that would allow investors to invest in high interest, lucrative car

notes that the AmeriFirst Clients owned and wanted to purchase more of.

       12.     According to the plan, after payment of commissions and costs, ninety-two

percent of the proceeds from the AmeriFirst Clients’ offering would be placed into accounts on

which Bowden was the sole signatory and over which he maintained complete control. In turn,



                                                  4
    Case 3:08-cv-01394-D Document 67 Filed 11/17/10                         Page 5 of 20 PageID 1069


these funds were to be used to buy car notes and otherwise conservatively invested for the

benefit of investors.

        13.      In the course of implementing the business plan, Bowden asked Bruteyn to assist

in his efforts to raise capital for Bowden’s businesses. Bowden subsequently made Bruteyn the

Vice President and Managing Director of both AmeriFirst Funding and AmeriFirst Acceptance.

However, as Bruteyn has testified under oath, he was not an owner of any of the AmeriFirst or

related entities, nor was he involved in the day-to-day operations of the companies: “I don’t own,

nor do I operate, nor have I ever owned or operated, nor do I own any stock in any Amerifirst

company. I raised money for Dennis Bowden and his companies . . . .”

        14.      Thus, the sources of income for the AmeriFirst Clients were to be collections,

sales, and investor checks.2 Since the institution of the Receivership Subsequent it has become

clear that income from each of these sources were properly deposited into appropriate bank

accounts in the name of AmeriFirst Funding. Moreover, it has also become clear that these

accounts were conscientiously protected and never accessed for personal gain by Bowden or

anyone else. As part of the system of checks and balances implemented by Bowden in the

AmeriFirst Clients business model, Bowden was not only the sole signatory on all the AmeriFirst

Funding bank accounts such that no other person at any time had the authority to transfer funds

from these accounts, Bowden personally made sure “that no funds could be accessed or

transferred without my authorization.” Bowden also had sole authority over and was the sole

signatory on each of the AmeriFirst Acceptance accounts. As such, it was Bowden who

controlled the AmeriFirst Clients and it was always his intent to do so legitimately.




2
  “Collections” refers to the financing aspect of the business and “sales” encompass automobile and car note sales.
“Investor checks” are the proceeds from the sale of the notes described herein.

                                                        5
    Case 3:08-cv-01394-D Document 67 Filed 11/17/10                           Page 6 of 20 PageID 1070


         15.      Among others who shared this intent and assisted Bowden were James Coker

(Treasure and Director of AmeriFirst Funding and AmeriFirst Acceptance), Robert Clark

(Secretary and Director of AmeriFirst Acceptance), David Cain (Director of AmeriFirst

Acceptance), Edward Roush (Registered Agent of American Eagle), and Gerald Kingston

(Director of AmeriFirst Funding and AmeriFirst Acceptance) (collectively herein referred to as

“Other Principals”).

         16.      On or about June 2005, Offill and Godwin Pappas were engaged to assist with the

expansion plan. At the time, Offill was a well-known securities attorney with an excellent

reputation and had formerly worked for the Securities and Exchange Commission (“SEC”).

Similarly, Godwin Pappas was a well-known law firm with an excellent reputation, composed of

other attorneys working under Offill’s direction on behalf of Godwin Pappas (collectively, the

“Other Godwin Pappas Attorneys”) who themselves had good reputations.3

         17.      As part of their legal representation, Offill and Godwin Pappas agreed to provide

assistance and advice to Bowden, Bruteyn, and the AmeriFirst Clients in all aspects of properly

preparing and legally offering, without illegally advertising or soliciting, securities for sale to the

public. Defendants’ representation of the AmeriFirst Clients was specifically agreed to include

ensuring that the AmeriFirst Clients complied with all state and federal securities laws in

implementing the AmeriFirst Clients’ business plan, which called for the creation and offering of

securities. In addition, as part of their service to the AmeriFirst Clients, Offill and Godwin

Pappas agreed to advise Bowden, Bruteyn, and the AmeriFirst Clients on the various options

available for raising capital through the offering of securities.



3
 At all times material hereto, Offill was an attorney licensed to practice law in the State of Texas and Godwin
Pappas was a law firm. From the date of its formation and at all relevant times, Offill was a partner with Godwin
Pappas, acting on behalf of himself and Godwin Pappas with respect to the matters that are the subject of this action.

                                                          6
  Case 3:08-cv-01394-D Document 67 Filed 11/17/10                  Page 7 of 20 PageID 1071


       18.     After considerable discussion, the AmeriFirst Clients and Defendants developed

an offering which Bowden, Bruteyn, and the AmeriFirst Clients believed would be acceptable to

regulatory authorities. In fact, the AmeriFirst Clients believed, based on the counsel and advice

of Defendants, that the Texas State Securities Board (“TSSB”) had advised specifically that the

format proposed by the Defendants was acceptable.

       19.     As lay persons, neither Bowden, the Other Principals, or Bruteyn for that matter,

were familiar with the registration rules and regulations under federal or state securities laws. It

was for this reason they sought legal assistance in the first place. As Bowden has testified:

               Q. (BY MR. NORRIS) The question was did you ever seek legal advice

       concerning whether -- or what the prerequisites were for offering and selling --

       the legal prerequisites for offering and selling these secured notes?

               A. Yes.

               Q. From whom?

               A. Phil Offill.

       20.     As with other entities that typically retain counsel to assist with securities

offerings, the AmeriFirst Clients properly entrusted the job of ensuring compliance with all

necessary filings and procedures, to the extent they existed, to Offill and Godwin Pappas. As

reasonable and prudent attorneys engaged in the capital markets and securities offerings practice

should, Offill and Godwin Pappas understood that the AmeriFirst Clients expected and would

rely on Defendants to ensure that the AmeriFirst Clients complied with all applicable securities

laws. As reasonable and prudent attorneys, Defendants knew or should have known that the

AmeriFirst Clients were not familiar with all of the intricacies associated with offering securities,




                                                 7
  Case 3:08-cv-01394-D Document 67 Filed 11/17/10               Page 8 of 20 PageID 1072


and that the AmeriFirst Clients would rely on their advice with regard to the appropriate

implementation of the business plan.

       21.     As detailed below, however, despite initially creating the appearance they had

complied, Offill and Godwin Pappas failed to properly perform their engagement. Among other

things, Defendants initially created and approved for filing a disclosure statement with Pink OTC

Markets, Inc., an electronic quotation and trading system in the over-the-counter securities

market. In February 2006, they prepared and filed the Certificate of Formation, Bylaws, and

Organizational Resolutions for AmeriFirst Acceptance. In addition, the Other Godwin Pappas

Attorneys also prepared various other documents, such as a Servicing Agreement, a Sale and

Servicing Agreement, a Term Sheet, a Subsequent Transfer Agreement, a Subscription

Agreement, a Suitability Questionnaire, a Security Agreement, and a Promissory Note.

Thereafter, in furtherance of the engagement, in March 2006, Offill and Godwin Pappas prepared

and filed additional documents which they indicated to the AmeriFirst Clients were required for

the purpose of offering securities, including a Form SS-4.

       22.     Significantly, Offill and Godwin Pappas also prepared an offering book and

advertisement which was sent to the TSSB for review and approval. At the time, Offill and

Godwin Pappas informed the AmeriFirst Clients that the TSSB had approved an “exemption” for

them regarding certain registration requirements based on an advertisement the AmeriFirst

Clients put together with the assistance and approval of Defendants. As a result, based on the

advice of Defendants, the AmeriFirst Clients understood and actually believed they could offer

securities as they did because of the “exemption.”

       23.     As Bruteyn testified, “[o]ur attorneys registered these notes and were approved to

sell . . .” More specifically, “I was told [by Offill and Godwin Pappas] and to the best of my



                                                8
  Case 3:08-cv-01394-D Document 67 Filed 11/17/10                   Page 9 of 20 PageID 1073


knowledge I felt we had the proper exemption from registration . . . .” Bowden himself has

testified “[i]t’s my understanding, yes, that we were operating under an exemption.”

       24.     Thus, pursuant to the advice and counsel of Offill and Godwin Pappas, the

AmeriFirst Clients offered securities for sale to the public believing they were doing so in

compliance with state and federal securities laws. They were, however, not in compliance.

       25.     Among other things, despite Defendants’ knowledge that the AmeriFirst Clients

planned to offer securities for sale to the public, including outside of Texas, Defendants wholly

failed to properly inquire, investigate, assist, or advise the AmeriFirst Clients in the proper

utilization and actual filing of necessary documents for interstate sales. Moreover, Defendants

failed to advise the AmeriFirst Clients of the limits of the registration exemption the AmeriFirst

Clients believed to be applicable to the securities. As a result, at no time did AmeriFirst

Acceptance or AmeriFirst Funding use and/or file the required offering documents prepared by

Offill and/or the Other Godwin Pappas Attorneys in the manner in which they should have filed

and/or used them so as to properly offer the securities for sale to the public.

       26.     Instead, the securities were offered on an interstate basis on a Web page known as

www.amerifirstcorp.com and were accompanied by representations that they were secured by

collateral. The AmeriFirst Clients believed, based on the advice and counsel of Defendants, that

use of the Web site was appropriate and that its content was true and accurate. In fact, Offill and

Godwin Pappas specifically told the AmeriFirst Clients that the TSSB had approved the use of

the Web site and its content. Here again, however, the legal advice was inaccurate and resulted in

the AmeriFirst Clients violating registration and anti-fraud provisions of numerous state and

federal securities laws.




                                                  9
 Case 3:08-cv-01394-D Document 67 Filed 11/17/10                  Page 10 of 20 PageID 1074


        27.      Absent correct advice and counsel from Offill and Godwin Pappas, the AmeriFirst

Clients were not aware that their actions were illegal. The AmeriFirst Clients did not intend to

commit fraud or violate securities laws, and did not know that they had. Among other things,

Offill and Godwin Pappas negligently advised the AmeriFirst Clients that because of the

“exemption” the securities did not require the use of the offering documents referenced above,

were not required to be registered with the SEC, and could be sold to investors outside Texas.

This improper advice was contrary to the AmeriFirst Clients’ expressed request for advice and

assistance regarding the proper procedure for offering securities. The AmeriFirst Clients

justifiably relied upon Defendants for prudent legal advice, and Offill and Godwin Pappas failed

to provide it.

        28.      This failure undermined the AmeriFirst Clients’ goal to expand their business by

legally providing an investment opportunity in the form of a security that would benefit the

AmeriFirst Clients by raising capital. The AmeriFirst Clients engaged Offill and Godwin Pappas

to assist and counsel them in implementing and achieving this objective, and as outlined herein,

Offill and Godwin Pappas failed to properly instruct, advise, and assist the AmeriFirst Clients in

offering the securities as requested.

        29.      This failure was negligent and proximately caused the AmeriFirst Clients to incur

liabilities to third parties, which liabilities were either increased or would not have been incurred

in the first place. If Offill and Godwin Pappas had advised, inquired, investigated, or otherwise

assisted the AmeriFirst Clients in the proper filing and/or use of the documents they did create,

as reasonable and prudent attorneys would and should have, the AmeriFirst Clients would have

ceased violating state and federal securities laws. The AmeriFirst Clients, through Bowden in

particular, would have heeded the proper advice and ceased the illegal activities, thereby



                                                 10
 Case 3:08-cv-01394-D Document 67 Filed 11/17/10                    Page 11 of 20 PageID 1075


reducing liabilities to third parties and enhancing their ability to pursue the legitimate goals of

the AmeriFirst Clients’ overall business plan. Because Defendants did not properly advise the

AmeriFirst Clients, however, the AmeriFirst Clients incurred liabilities to third parties, which

liabilities were either increased or would not have been incurred in the first place if Offill and

Godwin Pappas had performed as reasonable and prudent attorneys would and should have.

       30.     Certainly, the AmeriFirst Clients would not have offered the securities in the

manner in which they did, if they had been aware of the illegality of such an offering. As

Bruteyn testified, “I wish that we had -- that I had known about some of the limitations on what I

felt was a proper exemption.”

       31.     In addition, Offill’s and Godwin Pappas’ failure to adequately review the content

of the Web site and to properly advise the AmeriFirst Clients of the legality of the content and

the use thereof in connection with the offering was negligent, and this negligence too

proximately caused the AmeriFirst Clients to incur liabilities to third parties, which liabilities

were either increased or would not have been incurred in the first place.

       32.     Moreover, a reasonable and prudent attorney would have known and should have

known that any neglect in the legal representation of a securities offering would cause the

AmeriFirst Clients to incur new or additional liabilities to third parties.

       33.     As stated above, the AmeriFirst Clients were not aware that their actions were

illegal. Had the AmeriFirst Clients been advised of their illegal conduct, they would have ceased

the offerings and endeavored to rectify the securities laws violations. Because the AmeriFirst

Clients were actively seeking legal advice regarding the proper legal procedures for offering

securities, Defendants did more than merely furnish a condition which allowed an illegal

activity. By failing to provide proper legal advice and assistance as agreed, Offill and Godwin



                                                  11
 Case 3:08-cv-01394-D Document 67 Filed 11/17/10                 Page 12 of 20 PageID 1076


Pappas caused the illegal activity. Additionally, because Defendants were aware of the

AmeriFirst Clients’ intent to offer securities and of the general terms of their business plan, it

was foreseeable that damages would be caused by Defendants’ failure to notify the AmeriFirst

Clients of the illegality of their acts.

        34.     The AmeriFirst Clients, and Bowden in particular, did not seek out the highly

regarded Offill and Godwin Pappas because they wanted to commit fraud or violate securities

laws. Similarly, they did not set out to subject themselves to substantial penalties or face

incarceration. The offerings were designed to raise capital for the financing and sale of

automobiles, the core of Bowden’s business. Offill and Godwin Pappas assisted with the

development of the plan and securities and were aware of the role of the offering, but failed to

advise the AmeriFirst Clients how to incorporate it properly.

        35.     In addition, on numerous occasions following initiation of the offering, Offill and

Godwin Pappas continued to fail to perform their engagement as reasonable and prudent

attorneys would have. In August 2006, the illegal offering of the securities came to the attention

of the TSSB, and the AmeriFirst Clients received an initial verbal inquiry from the TSSB. In

response, the AmeriFirst Clients requested that Offill and Godwin Pappas, in furtherance of their

engagement, respond to the TSSB on their behalf, and Offill and Godwin Pappas agreed to do so.

On August 14, 2006, the initial inquiry was followed by a formal written inquiry addressed to

Offill requesting “what exemption from registration is being relied upon with respect to this

offering” and a response within ten (10) days.

        36.     At that time, Offill again advised the AmeriFirst Clients specifically that they

were in compliance with all applicable securities laws. As Bruteyn testified, the AmeriFirst




                                                 12
 Case 3:08-cv-01394-D Document 67 Filed 11/17/10                   Page 13 of 20 PageID 1077


Clients never spoke with the TSSB because “[t]that’s what we paid the attorneys [Offill and

Godwin Pappas] to do.”

        37.        By virtue of agreeing to provide representation and proper legal advice regarding

compliance, Offill and Godwin Pappas incurred a duty to fully and fairly respond to the TSSB

inquiry, as reasonable and prudent attorneys would and should have done. Under the

circumstances then existing, a full and fair response required an investigation by Defendants of

the issues presented by the TSSB. Offill and Godwin Pappas failed to fully, fairly, or reasonably

investigate the issues and/or failed to properly utilize the information they did have. Had they

performed their engagement as reasonable and prudent attorneys should and would have,

Defendants would have discovered the AmeriFirst Clients had offered the securities improperly

and were engaged in violations of state and federal securities laws. Because they were hired for

the express purpose of providing this legal service regarding compliance, Offill and Godwin

Pappas had a duty to advise the AmeriFirst Clients of the illegality of their actions and they

failed to do so.

        38.        On September 11, 2006, more than ten days after the written inquiry from the

TSSB and despite his obligation to do otherwise, Offill negligently and improperly replied to the

TSSB on behalf of the AmeriFirst Clients as follows:

                          the securities were secured by pledges of vendor’s liens on
                          automobile purchase notes, automobiles, certificates of deposit,
                          and cash;

                          the AmeriFirst Clients had not utilized promotional materials or
                          advertising;

                          the securities were offered to Texas residents only through the
                          AmeriFirst Clients’ officers and directors, none of whom were paid
                          any manner of additional compensation;




                                                  13
 Case 3:08-cv-01394-D Document 67 Filed 11/17/10                  Page 14 of 20 PageID 1078


                       Colonial First Advisors was the investment advisor for the CSDO
                       offering, and it was located at 4514 Cole Ave, Suite 600, Highland
                       Park, Texas 75202;

                       the AmeriFirst Clients had not offered or sold any securities
                       through any internet Web site; and

                       AmeriFirst Funding had $23.5 million in assets.

       39.     Among other things, had Offill and Godwin Pappas properly performed their

engagement, they would have known that these statements were false. Specifically, a reasonable

investigation would have revealed, and Offill and Godwin Pappas should have known, that:

                       the securities were unsecured;

                       sales materials regarding the securities were being distributed;

                       commissions were being paid to various companies and individuals
                       who sold the securities;

                       advertising was taking place on the internet;

                       Colonial First Advisors was located in Florida, not Texas; and

                       240 persons or entities had invested in the securities, 140 in Texas
                       and 100 in Florida.

       40.     Thus, Offill and Godwin Pappas breached their duty to the AmeriFirst Clients and

were negligent for failing to conduct an investigation before replying to the TSSB, in giving false

information to the TSSB, and failing to advise the AmeriFirst Clients of their illegal actions.

       41.     Moreover, the AmeriFirst Clients were not aware of the misrepresentations.

Defendants never advised the AmeriFirst Clients that the information provided to the TSSB was

inaccurate and false. The AmeriFirst Clients did not engage Offill and Godwin Pappas to make

false statements to the TSSB or any regulator entity. Contrary to the AmeriFirst Clients’

directives, Offill and Godwin Pappas improperly responded to the TSSB; gave the TSSB false

information; and failed to notify the AmeriFirst Clients of the deficiencies and irregularities in

                                                14
 Case 3:08-cv-01394-D Document 67 Filed 11/17/10                   Page 15 of 20 PageID 1079


their offering. Thus, Offill and Godwin Pappas negligently prolonged and perpetuated the

improper offering.

       42.     This negligence caused the AmeriFirst Clients to incur additional and unnecessary

liabilities to third persons and was a proximate cause of foreseeable damages to the AmeriFirst

Clients. In particular, had Offill and Godwin Pappas performed as they should have with regard

to the TSSB inquiry, the AmeriFirst Clients would have stopped violating the law and would not

have incurred the additional liability to third parties that they incurred after September 2006.

       43.     In addition, it is evident that Offill and Godwin Pappas must have known that in

fact some of the representations made to the TSSB were false and failed to advise the AmeriFirst

Clients of the misrepresentations. Defendants’ awareness is demonstrated through a comparison

of the statements made by Offill to the TSSB in September 2006 and the statements made by

Offill to counsel for Lloyds of London (“Lloyds”) in a letter dated November 30, 2006. In the

letter to Lloyds, Offill represented, among other things, that AmeriFirst Funding had sold

securities in both Texas and Florida.

       44.     Offill’s and Godwin Pappas’ engagement included not only responding properly

to the TSSB inquiry, but also advising the AmeriFirst Clients of any false information which

may have been provided on their behalf to the regulatory agency. Having not advised the

AmeriFirst Clients of the misrepresentations provided to the TSSB, Defendants should have at

least corrected the false information provided to the TSSB, and thus properly responded as the

AmeriFirst Clients requested. In failing to do so, Defendants’ actions and omissions again

created and increased the AmeriFirst Clients’ liabilities to third parties.

       45.     Moreover, around November 2006, Offill became aware that the Florida State

Securities Board was also making inquiries as to the activities of the AmeriFirst Clients



                                                  15
 Case 3:08-cv-01394-D Document 67 Filed 11/17/10                  Page 16 of 20 PageID 1080


regarding the offerings. As a result, at least as early as November 2006, Defendants knew or

should have known that their clients were not entitled to rely upon any intrastate exemption from

state and federal securities laws which regulate public offerings of securities, and that Offill’s

statement to the TSSB that the securities were sold only in Texas was false. At that point,

reasonable and prudent attorneys would have corrected the misrepresentations, advised their

clients that they were violating state and federal securities laws, and advised that they must stop

their illegal conduct. Defendants did none of these. If Offill and Godwin Pappas had done so, the

offering would have stopped. This failure was negligent and proximately damaged the

AmeriFirst Clients by exposing them to increased and unnecessary liabilities.

       46.     On May 5, 2008, in the SEC action, this Court entered a memorandum opinion

finding that the AmeriFirst Clients 1) “never filed a registration statement for the SDOs under §

5 of the Securities Act [of 1933]” and thus “sold these SDOs to the public through a general

solicitation” in violation of securities laws, specifically to Florida investors; and 2) “knowingly,

or with severe recklessness regarding the truth, made misrepresentations and omitted material

facts in connection with the offer or sale of the SDOs, in violation” of securities laws.

       47.     On April 30, 2009, this Court entered an Agreed Final Judgment Of Permanent

Injunction And Other Equitable Relief Against Dennis W. Bowden (Document 383) in the SEC

action in which the Court ordered that Bruteyn and all three of AmeriFirst Clients are jointly and

severally liable with Bowden for amounts illegally obtained as a result of securities laws

violations.

       48.     Although Bowden, Bruteyn, and the AmeriFirst Clients were found to be jointly

and severally liable, Bowden and the AmeriFirst Clients were unaware of the illegality of their

actions and/or that the representations made during securities sales were in fact



                                                 16
 Case 3:08-cv-01394-D Document 67 Filed 11/17/10                 Page 17 of 20 PageID 1081


misrepresentations. Similarly, Bruteyn and the Other Principals were also unaware of the

illegality of the AmeriFirst Clients’ actions and/or the misrepresentations. As alleged above,

Bruteyn’s actual participation in the AmeriFirst Clients was only to assist in raising money for

the companies and his involvement in the day-to-day business was so limited that he did not have

access to information regarding the AmeriFirst Clients’ various investors and invested amounts.

As he has testified, “I don’t have anything to do with Amerifirst, so I couldn’t really sign

anything . . . I’ve never solicited this investment to any outside investor. I’ve never run an ad.

I’ve never approved any advertisement and did not know of any broker that was running any

type of advertisement . . . .” In fact, the AmeriFirst Clients were unaware of any advertising that

was targeted at the public until the Florida State Securities Board called Bruteyn in November

2006, and inquired about advertising for the securities in Florida, at which point Bruteyn

contacted each investor concerned and offered a full return of their respective investments.

       49.     The Other Principals, none of which were named in the SEC action, were

similarly unaware of the illegality of the offering and none of them were found to be in violation

of securities laws. Thus, none of the Other Principals have been ordered to disgorge monies to

the receivership. In addition, although the SEC named Kingston (Director of AmeriFirst Funding

and AmeriFirst Acceptance) as a relief defendant, on June 26, 2009 the SEC filed a status report

in the underlying suit which stated that the SEC finalized settlement with Kingston.

       50.     For the AmeriFirst Clients, Bowden, Bruteyn, and the Other Principals, the job of

ensuring securities laws compliance was assigned to Offill and Godwin Pappas who were

entrusted the task of preparing the offering in compliance with securities laws.

       51.     As alleged herein, however, Offill and Godwin Pappas continually acted contrary

to the AmeriFirst Clients’ directions. The AmeriFirst Clients directed Offill and Godwin Pappas



                                                17
 Case 3:08-cv-01394-D Document 67 Filed 11/17/10                  Page 18 of 20 PageID 1082


to assist with and ensure that the securities offering was in compliance with securities laws.

Defendants assured the AmeriFirst Clients that the securities did not require registration with the

SEC because the notes were exempt from registration. Defendants also failed to adequately

respond to the TSSB and to notify the AmeriFirst Clients of misrepresentations made on their

behalf to the TSSB. Generally, Offill and Godwin Pappas failed to adequately assist and advise

the AmeriFirst Clients with their securities offerings and to advise them of the illegality of their

actions.

                                      CAUSE OF ACTION

                                            Negligence

       52.     Special Receiver incorporates by reference, as if fully set forth, the allegations

contained in the foregoing Paragraphs 1-51.

       53.     Offill and Godwin Pappas owed the AmeriFirst Clients a duty to exercise the

degree of care, skill, and diligence that attorneys of ordinary skill and knowledge commonly

possess and breached that duty by engaging in the acts and omissions of negligence alleged

above. In that regard, Offill and Godwin Pappas, among other things, 1) neglected the various

matters the AmeriFirst Clients entrusted to Defendants; 2) frequently failed to carry out their

obligations owed to the AmeriFirst Clients; 3) did not promptly make reasonable efforts under

the circumstances to dissuade the client from committing illegal acts; 4) knowingly made false

statements of material fact to the TSSB on behalf of the AmeriFirst Clients without the

knowledge of the AmeriFirst Clients; and 5) did not make an effort to persuade the AmeriFirst

Clients to allow Defendants to correct the misrepresentations made to the TSSB. Each negligent

act or omission was a proximate cause of damages to the AmeriFirst Clients. In this regard, the

AmeriFirst Clients were proximately damaged by the negligence of Offill and Godwin Pappas to



                                                18
 Case 3:08-cv-01394-D Document 67 Filed 11/17/10                  Page 19 of 20 PageID 1083


the extent, among other things, that their liability to third parties was increased or the AmeriFirst

Clients became liable to third parties when they otherwise would not have been. In addition, the

AmeriFirst Clients were proximately damaged by the negligence of Offill and Godwin Pappas

because the AmeriFirst Clients were not able to fully or properly implement their business plan

which, among other things, resulted in significant loss of earnings, loss of goodwill, lost profits,

and decrease in the market value of the AmeriFirst Clients. Such damages were reasonably

foreseeable to a lawyer of ordinary prudence.

       54.     All conditions precedent have been performed or have occurred.

                                             PRAYER

       WHEREFORE, Plaintiff Special Receiver D. Ronald Reneker prays that Defendants

Phillip W. Offill, Jr. and Godwin Pappas Ronquillo, LLP be cited to appear and answer in this

action and that upon final hearing,

       (1)     Plaintiff recover from Defendants, jointly and severally, monetary damages as

       described herein and all fees paid by the AmeriFirst Clients to Defendants in connection

       with the matters that are the subject of this action;

       (2)     Plaintiff recover from Defendants, jointly and severally, pre- judgment and post-

       judgment interest as allowed by law;

       (3)     Plaintiff recover from Defendants, jointly and severally, costs of court; and

       (3)     Plaintiff recover from Defendants, jointly and severally, such other and further

       relief, whether special or general, at law or in equity, to which Plaintiff may be justly

       entitled.

                                                      Respectfully Submitted,

                                                      By: /s/William J. Eggleston
                                                             William J. Eggleston


                                                 19
 Case 3:08-cv-01394-D Document 67 Filed 11/17/10          Page 20 of 20 PageID 1084


                                                      Texas Bar No. 06483500
                                                      Raymond L. Gregory II
                                                      Texas Bar No. 08438275
                                                      John Michael Raborn
                                                      Texas Bar No. 24057364

                                               EGGLESSTON & BRISCOE, LLP
                                               4800 Three Allen Center
                                               333 Clay Street
                                               Houston, Texas 77002
                                               Telephone: (713) 659-5100
                                               Fax: (713) 951-9920

                                               ATTORNEYS FOR SPECIAL RECEIVER
                                               D. RONALD RENEKER, PLAINTIFF


                             CERTIFICATE OF SERVICE

        I certify that on November 17, 2010 all counsel of record that have consented to
electronic service are being served a copy of Special Receiver’s Third Amended Complaint
electronically via the CM/ECF filing system.


                                        /s/John Michael Raborn
                                        John Michael Raborn




                                          20
